/   ) ,
                     Case 3:12-cr-02956-BTM                         Document 88              Filed 09/18/15             PageID.243                    Page 1 of 2

               ~AO 245D (CASD)     (Rev. 8/11) Judgment in a Criminal Case for Revocations
                         Sheet I
                                                                                                                                                       SEP 18 2015
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                                                         UNITED STATES DISTRICT COURT '~:m~!'J\:';li\IcO;\ O:'(;At.W;/hi'jill
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                                                               SOUTHERN DISTRICT OF CALIFORNIA
                            UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                                    v.                                         (For Revocation of Probation or Supervised Release)
                             NICOLETTE JEAN REDO [2]                                           (For Offenses Committed On or After November I, 1987)


                                                                                               Case Number: 12CR2956-BTM

                                                                                               JENNIFER COON
                                                                                               Defendant's Attorney
              REGISTRATION No. 34124298
          D
              THE DEFENDANT:
               IZIadmitted guilt to violation of allegation(s) No . ~I..:-2=-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               o was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
              ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


              Allegation Number              Nature of Violation
                      I         Failure to participate in a residential drug treatment program
                      2         Failure to report as directed




                 Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                         2               of this judgment.
              This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


                       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
              change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
              fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
              defendant's economic circumstances.

                                                                                               SEPTEMBER 11,2015
                                                                                              Date of Imposition of Sentence




                                                                                                                                                                   12CR2956-BTM
       Case 3:12-cr-02956-BTM                        Document 88        Filed 09/18/15           PageID.244          Page 2 of 2
AO 2458      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                   Judgment - Page _.....:.2_    of     2
DEFENDANT: NICOLETTE JEAN REDO [2]
CASE NUMBER: l2CR2956-BTM
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          NINE (9) MONTHS.



     D The court makes the following recommendations to the Bureau of Prisons:                     UNITED STATES DISTRICT             IUD


     D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Do·m.     []p.m.      on
                as notified by the United States Marshal.

     DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                   RETURN
I have executed this judgment as follows:

          Defendant delivered on                                                      to

at                                                     with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                                12CR2956-BTM
